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CASE NO. 2:14-cv-02057
VIP Products L.L.C.
vs, Jack Daniel's Properties, Inc.

DEFENDANT’S EXHIBIT 104

DATE: IDEN.
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BY:

Deputy Clerk
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Firm E-Mail: courtdocs@idickinsonwright.com

David G. Bray (#014346)
dbray(a@dickinsonwright,com
Frank G. Long (#012245)
flong(aidickinsonwright.com
David N. Ferrucei (#027423)
dferrucei(wdickinsonwright.com
DICKINSON WRIGHT, PLLC
1850 North Central Avenue, Suite 1400
Phoenix, Arizona 85004

Phone: (602) 285-5000

Fax: (602) 285-5100

Attorneys for VIP Products, LLC.

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

VIP Products, L.L.C., an Arizona limited
liability company,

Plaintiff,
v.

Jack Danicl’s Properties, Inc., a Delaware
corporation

Defendant.

Jack Daniel's Properties, Inc.,
a Delaware corporation,

Counterclaimant,
Vv.

VIP Products, L.L.C., an Arizona limited
liability company,

Counterdefendant

No, 2:14-cv-02057-DGC

PLAINTIFF AND COUNTERDEFENDANT
VIP PRODUCTS, L.1L.C’S RESPONSES TO
JACK DANIEL’S PROPERTIES, INC.’S
SECOND SET OF REQUESTS FOR
PRODUCTION OF DOCUMENTS AND
THINGS (REQUESTS NO. 16-25)

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Plaintiff and Counterdefendant VIP Products, L.L..C. (“VIP”), by and through their

undersigned counsel, Dickinson Wright PLLC, hereby submit, pursuant to Rules 30

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and 34 of the Arizona Rules of Civil Procedure, its Responses to the Second Set of Requests
for Production of Documents and Things served by Defendant and Counterclaimant Jack
Daniel’s Properties, Ine. (JDPI").

PREFATORY STATEMENT

‘The responses set forth hercin are based on information currently known to Plaintiff,
Plaintiff has not completed its investigation and discovery is ongoing. Accordingly, Plaintlf
reserves the right to supplement, amend, or clarify any of its responses or objections as
permitted by the Federal Rules of Civil Procedure.

Each of the following responses is made subject to the “general objections” set forth

below, and cach general objection is specifically incorporated by reference into each of

Plaintiffs responses to Defendant’s requests, as though sct forth fully.

GENERAL OBJECTIONS

1. Plaintiff objects generally to the Definitions and Instructions to the extent that
they impose obligations broader than those imposed by the applicable Rules of Civil
Procedure. Plaintiffs disclaim any such broader obligation purportedly imposed by such
Instructions.

2, Plaintiff objects generally to Defendant’s Request for Production (the
“Request”) to the extent that any Request can be read to call for information that is protected
by the attorney-client privilege, the work product doctrine, or any other applicable privilege
or immunity. Such privileged information will not be disclosed and any inadverient
disclosure thereof will not be deemed a waiver of any privilege or protection, By accepting
information in response to these Requests, the propounding party expressly accepts and
acknowledges this non-waiver.

3. Plaintiff objects to each and every Request to the extent that it secks discovery
regarding matters (hat are not relevant to the subject matter of the pending action or that are
not reasonably calculated to lead to the discovery of admissible cvidence. These Responses

shall not constitute a waiver of any such objections.

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4, Plaintiff objects to cach and every Request to the extent it purports to impose a
burden of disclosing information not readily available to Plaintiff or is equally available to
Defendant. Plaintiff further objects to cach and every Request to the cxtent if purports to
impose a burden of identifying documents that are not in Plaintiff's possession, custody, or
control, or that cannot be found in the course of a reasonable search, or that have already
been produced by Plaintiff or others to Defendant. Plaintiff refers Defendant to such
documents for the content thereof,

5, ‘The Responses set forth herein are based on information currently known to
Plaintiff, Plaintiff has not completed its investigation and discovery is continuing in this
matter. Accordingly, Plaintiff reserves the right to supplement, amend or clarify any of its
responses or objections as permitted by the Federal Rules of Civil Procedure.

6. VIP objects to each Request to the extent it seeks documents to which JDPT has
equal or better access, or for which the burden on JDPT is equal to, or greater than, that of
Plaintiff.

7. The failure of VIP to object to any specific Request on a particular ground shall
not be construed as a waiver of its rights to object on any additional ground(s). VIP reserves
the right to amend and/or supplement its objections and response at any time consider with
further investigation and discovery.

8. VIP does not concede the relevance, materiality, or admissibility of any
documents sought in these Requests. VIP’s responses are without waiver or limitation of its
right to object on grounds of relevant, privilege, admissibility of evidence for any purpose, or
any other ground to the use of any information or documents provided or referred to in its
response, in discovery or in any procceding, or at the trial of this or any other action.

9, These Responses are given subject to and without waiving the foregoing
General Objections, each of which is incorporated by reference in its entirety into each of the

following answers.

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RESPONSES TO REQUESTS FOR PRODUCTION

16, Atl Documents and Things relating or referring to, or evidencing, reflecting, or
constituting, the factual basis for VIP’s allegation in paragraph 27 of the Amended Complaint
that the “features of the Jack Daniel’s Trade Dress and Jack Daniel’s Bottle Design are
‘essential to the use or purpose’ or ‘affect the cost or quality” of the products sold using the
trade dress and design and protecting the features of the Trade Dress and Bottle Design
would significantly undermine a competitor’s ability to compete with Jack Daniel’s in the
sale of distilled spirits.”

RESPONSE: In addition to the Expert Report of Martin Wolinksy and the Expert
Report of John Howard previously produced by VIP, VIP is producing herewith a report
independently prepared by Stephen Sacra attached as Exhibit “1” to Plaintiffs Responses to
JDPI’s Second Set of Interrogatories (document bates-numbered SACO001-0063), Additional

documents may be identified through discovery,

17. All documents and Things relating or referring to, or evidencing, reflecting, or
constituting, the factual basis for VIP’s allegation in paragraph 28 of the Amended
Complaint that “elements of the Jack Daniel’s Trade Dress and Jack Danicl’s Bottle Design
are merely ornamental or decorative and do not function as features signifying products
from the Jack Daniels distillery.”

RESPONSE: In addition to the Expert Report of Martin Wolinksy and the [expert
Report of John Howard previously produced by VIP, VIP is producing herewith a report
independently prepared by Stephen Sacra attached as Exhibit “1” to Plaintiff's Responses to
JDPHs Second Set of Interrogatories (document bates-numbered SACOQ1-0063). Additional

documents may be identificd through discovery.

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18. Ail Documents and Things relating or referring to, or evidencing, reflecting, or
constituting, the factual basis for VIP’s allegations in paragraphs 36 and 44 of the Amended
Complaint that the Jack Daniel’s Trade Dress and Jack Daniel’s Bottle Design arc “generic
because their primary significance is to identify any distilled spirits, particularly bourbon or
other corn based whisky, rather than products from the Jack Daniels distillery.”

RESPONSE: In addition to the Expert Report of Martin Wolinksy and the Expert
Report of John Howard previously produced by VIP, VIP is producing herewith a report
independently prepared by Stephen Sacra attached as [exhibit “1” to Plaintiffs Responses to
JDPI's Second Set of Interrogatories (document bates-numbered SACO001-0063). Additional

documents may be identified through discovery.

19. All Documents and Things relating or referring to, or evidencing, reflecting, or
constituting, the factual basis for VIP’s allegations in paragraph 55 and 56 of the Amended
Complaint that the comhination of elements of the Jack Danicl’s Trade Dress and Jack
Daniel's Bottle Design are “non-distinctive and not entitled to trademark protection.”

RESPONSE: In addition to the Expert Report of Martin Wolinksy and the Expert
Report of John Howard previously produced by VIP, VIP is producing herewith a report
independently preparcd by Stephen Sacra attached as Exhibit “1” to Plainiff’s Responses to
JDPI’s Second Set of Interrogatorics (docutnent bates-numbered SAC001-0063). Additional

documents may be identified through discovery.

20. The document referred to by Stephen Sacra at line 25 on page 90 and line | on
page 91 of the Sacra Transcript.

RESPONSE: Plaintiff is producing herewith document bates-numbered VIPO0138.

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| 21, All Documents and Things relating or referring to, or evidencing, reflecting, or

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constituting, the factual basis for VIP’s allegation in paragraph 67 of the Amended Answer
3 |/that “The Counterclaims are barred in whole or in part because one or more of Counter-
4 || plaintiffs. purported marks and/or trade dress are not famous, as the term of is (sic} construed
5 j/under the Lanham Act.”

6 RESPONSE: VIP notes that JDPI has the burden of proof to establish that its trade
7 || dress and trademarks are “famous.” Responsive documents relevant to VIP’s allegations that
8 || the combination of clements of the Jack Daniel’s Bottle Design does not identify and indicate
9 ):the source of the goods, even if that source is unknown, and is non-distinctive and is not
10 | entitled to protection as a “famous” mark include the previously produced expert report of
1L |) Martin Wolinsky and in the report independently prepared by Stephen Sacra attached as
12 | Exhibit “1” to Plaintiff's Responses to JDPI’s Second Set of Interrogatories (document bates-

13 |i numhered SACO01-0063). Additional documents may be identified through discovery.

5 22. Atl Documents and Things relating or referring to, or evidencing, reflecting, or
16 |} constituting, the factual basis for VIP’s allegation in paragraph 68 of the Amended Answer
{7 | that “The Counterclaims are barred because Counter-Defendant’s conduct constitutes fair
18 fuse.”

19 RESPONSE: In addition to documents previously produced by VIP, VIP is
20 ||producing herewith documents bates-numbered VIP00133-139 and the report the report
21 j/independently prepared by Stephen Sacra attached as Exhibit “1” to Plaintiffs Responses to

22 || JDPI’s Second Set of Interrogatories (document bates-numbered SAC001-0063).

24 23. All Documents and Things relating or referring to, or evidencing, reflecting, or
25 |) constituting, the factual basis for VIP’s allegation in paragraph 69 of the Amended Answer

26 |/that “Phe Counterclaims are barred in whole or in part by reason of other parties’ prior or

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current use of marks and/or trade dress similar to Counter-Plaintiff's purported marks and/or
trade dress.”

RESPONSE: In addition to the Expert Report of Martin Wolinksy and the Expert
Report of John Howard previously produced by VIP, VIP is producing herewith a report
independently prepared by Stephen Sacra attached as Exhibit “1” to Plaintitf’s Responses to
IDPs Second Set of Interrogatories (document bates-numbered SAC001-0063). Additional

documents may be identified through discovery,

24. All Documents and Things relating or referring to, or evidencing, reflecting, or
constituting, the factual basis for VIP’s allegation in paragraph 70 of the Amended Answer
that “The Counterclaims are barred in whole or in part because Counter-Defendant’s alleged
marks and/or trade dress are invalid, unenforceable, and/or not infringed.”

RESPONSE: In addition to the Expert Report of Martin Wolinksy and the [:xpert
Report of John Howard previously produced by VIP, VIP is producing herewith a report
independently prepared by Stephen Sacra attached as Exhibit “1” to Plaintiff's Responses to
JDPI’s Sceond Set of Interrogatories (document bates-numbered SACO01-0063). Additional
documents may be identified through discovery and/or in VIP’s expert rebuttal reports that

are not duc to be disclosed to JDPI until Friday, July 10, 2015.

25. All Documents and Things relating or referring to, or evidencing, reflecting, or
constituling, the nature, duration, and extent of the sales and advertising of each of the
products depicted in paragraph 23 of the Amended Complaint, and any other product that
VIP contends affects the existence, protectability, or validity of the Jack Daniel’s Trade
Dress of Jack Dantel’s Bottle Design.

RESPONSE: The use by competitors of elements of Jack Daniel’s claimed trade dress in

their products is widespread and that use is discussed and/or examined in detail, both in

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the expert report of Martin Wolinsky and the report independently prepared by Stephen Sacra
attached as Exhibit “1” to Plaintiffs Responses to IDPPs Second Set of Interrogatories
(document bates-numbered SACO01-0063). Documents relating to the history, sales and
advertising for these products is available from public sources, accessible equally by JDPI
and, for its convenience, specific website addresses for several of these products are provided
in the reports produced already and/or provided with these responses, Additional documents

may be identified through discovery.

RESPECTFULLY SUBMITTED this 17" day of June, 2015.

DICKINSON WRIGHT PLLC

AYES \
Bye’ Of / .

David G. Bray

Vrank G. Long

David N. Ferrucci

1850 North Central Avenue, Suite 1400
Phoenix, Arizona 85004

Attorneys for VIP Products, LLC.

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CERTIFICATE OF SERVICE

i hereby certify that on June 17, 2015, 1 e-mailed and mailed Plaintiff

and

Counterdcfendant VIP Products, L1.C’s Responses to Defendant and Counterclaimant Jack

Daniel’s Properties, Inc.’s Second Set of Requests for Production of Documents and Things

(Requests No, 16-25) to cach of the parties set forth below:

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Christopher C. Larkin, Esq.

clarkin@isey farth.com

SEYFARTH SHAW LLP

2029 Century Park East, Suite 3500

Los Angeles, California 90067-3021
Attorneys for Jack Daniel's Properties, Inc.

Gregory P. Sitrick, Esq.
Gregory. sitrick/diquarles.com

Isaac S. Crum, Esq.
Isaac. Crunv@iquarics.com

QUARLES & BRADY LLP

One Renaissance Square

‘Two North Central Avenue

Phoenix, Arizona 85004-2391
Attorneys for Jack Daniel's Properties, Inc.

Kristi A.Arendl

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SALE reg. 12.99,
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dad’s summer’s in full swing

SALE Men's Mossimo Supply Co. and Meron
Men's C8 Champion® golf potas, shorts and |

$14 16.99

SALE reg. 14.99, Men's Wrangler 5-pocket, Men's Wrangler regular or refaxed-fit jeans.
= Q carpenter or side-elastic shorts. * Extended sins, 13,99
1a + Extended sizns, aale $16

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vos, shorts and short-sleeve woven shirts shown, reg. 14.99-24.99, sale 10,49-1749
§ shown, reg, 19.99-32.99, sale 19.96-23.09

SALE rag. 6.99,

Men's Hanes®
Premium tee,
Sizea S-XL.
+ Size XL, rag. 4.99,
gak $7
SALE reg. 29.99, Men’s Haggar H26 original
straight-fit chines.
* All other Hagger H26 pant and shorts on aale. expect more. pay jess. 15

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19.99
64-oz, stainless steal flask
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